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            EXHIBIT B
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                  IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE DISTRICT OF DELAWARE


In re:                                                Chapter 11

FCC HOLDINGS, INC., et al.,1                          Case No. 14-11987 (CSS)
                                                      Jointly Administered
                                     Debtors.


   DECLARATION OF TERESA HANGER IN SUPPORT OF SIXTH
   OMNIBUS OBJECTION (SUBSTANTIVE) OF THE LIQUIDATING
TRUSTEE TO CLAIMS PURSUANT TO BANKRUPTCY CODE SECTIONS
     105 AND 502 AND RULE 3007 OF THE FEDERAL RULES OF
                  BANKRUPTCY PROCEDURE

                   I, Teresa Hanger, hereby declare that the following is true and correct

to the best of my knowledge, information, and belief.

                   1.       Clingman & Hanger Management Associates, LLC is the

liquidating trustee for the FCC Holdings, Inc. Liquidation Trust (the “Liquidating

Trustee”). In the course and scope of the Liquidating Trustee’s engagement, I have

been personally involved in the processing and reconciliation of claims against the

above-captioned debtor (collectively, the “Debtors”). I am authorized to submit this

Declaration on behalf of the Liquidating Trustee.

                   2.       Except as otherwise set forth herein, all statements in this

Declaration are based on my personal knowledge, my familiarity with the processing


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          The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal
          tax identification number, are: FCC Holdings, Inc. (6928); Education Training Corporation
          (1478); High-Tech Institute Holdings, Inc. (4629); EduTech Acquisition Corporation (8490);
          and High-Tech Institute, Inc. (3099).
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and reconciliation of the claims (collectively, the “Claims”) listed on Exhibits A

annexed to the Sixth Omnibus (Substantive) Objection of the Liquidating Trustee to

Claims Pursuant to Sections 105 and 502 of the Bankruptcy Code and Rule 3007 of

the Federal Rules of Bankruptcy Procedure (the “Objection”), or my review of

relevant documents.

               3.      If called upon to testify, I could and would competently testify

to the facts set forth herein. I submit this Declaration in support of the Objection. I

have or someone on my staff under my direction and supervision has reviewed the

Claims.

               4.      After reconciling each of the Claims and supporting materials

against the Debtors’ Books and Records, the Liquidating Trustee has determined that

the Debtors are not liable with respect to the Claims. As identified more specifically

in the exhibit in the column titled “Reason for Disallowance,” there is no basis for

any liability related to the Claims.

               5.      Failure to disallow the Claims will result in the applicable

claimants receiving an unwarranted recovery against the Debtors’ estates, to the

detriment of creditors in these cases. Accordingly, the Liquidating Trustee hereby

objects to the Claims and requests entry of an order disallowing and expunging in

full each of the Claims identified in Exhibit A to the Objection.

               6.      Based upon my personal knowledge, my familiarity with the

processing and reconciliation of the Claims, or my review of relevant documents, I




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believe that granting the relief requested in the Objection is in the best interests of the

Debtors, their estates, and their creditors.

                7.      The undersigned representative of the Liquidating Trustee

certifies that the undersigned has reviewed the requirements of Local Rule 3007-1

and that the Objection substantially complies with that Local Rule. To the extent

that the Objection does not comply in all respects with the requirements of Local

Rule 3007-1, the Liquidating Trustee believes such deviations are not material and

respectfully requests that any such requirement be waived.

                                     CONCLUSION

                For the reasons set forth herein and in the Objection, the Liquidating

Trustee respectfully requests that the Objection be sustained.

                I declare under penalty of perjury under the laws of the United States

of America that the foregoing is true and correct.


Dated: December 12, 2017

                                Clingman & Hanger Management Associates, LLC,
                                solely in its capacity as Liquidating Trustee for the
                                FCC Holdings, Inc. Liquidation Trust


                                By: /s/ Teresa Hanger
                                    Teresa Hanger




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